                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DEMOCRACY NORTH CAROLINA, THE LEAGUE
OF WOMEN VOTERS OF NORTH CAROLINA,
DONNA PERMAR, JOHN P. CLARK, MARGARET
B. CATES, LELIA BENTLEY, REGINA WHITNEY
EDWARDS, ROBERT K. PRIDDY II, WALTER
HUTCHINS, AND SUSAN SCHAFFER,

                           Plaintiffs,

       v.

THE NORTH CAROLINA STATE BOARD OF
ELECTIONS; DAMON CIRCOSTA, in his official
capacity as Chair of the State Board of Elections;
STELLA ANDERSON, in her official capacity as
Secretary of the State Board of Elections; KEN        Civil Action No. 20-cv-00457
RAYMOND, in his official capacity as Member of the
State Board of Elections; JEFF CARMON III, in his
official capacity as Member of the State Board of
Elections; DAVID C. BLACK, in his official capacity
as Member of the State Board of Elections; KAREN
BRINSON BELL, in her official capacity as Executive
Director of the State Board of Elections; THE NORTH
CAROLINA DEPARTMENT OF
TRANSPORTATION; J. ERIC BOYETTE, in his
official capacity as Transportation Secretary; THE
NORTH CAROLINA DEPARTMENT OF HEALTH
AND HUMAN SERVICES; MANDY COHEN, in her
official capacity as Secretary of Health and Human
Services,

                           Defendants,

and

PHILIP E. BERGER, in his official capacity as
President Pro Tempore of the North Carolina Senate,
and TIMOTHY K. MOORE, in his official capacity as
Speaker of the North Carolina House of
Representatives,

                           Intervenors,




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 and

 REPUBLICAN NATIONAL COMMITTEE,
 NATIONAL REPUBLICAN SENATORIAL
 COMMITTEE, NATIONAL REPUBLICAN
 CONGRESSIONAL COMMITTEE, and NORTH
 CAROLINA REPUBLICAN PARTY,

                                 Proposed Republican
                                 Committee Intervenors.


                REPUBLICAN COMMITTEES’ MOTION TO INTERVENE

        Proposed Intervenor-Defendants the Republican National Committee (“RNC”), National

Republican Senatorial Committee (“NRSC”), National Republican Congressional Committee

(“NRCC”), and North Carolina Republican Party (“NCRP”) (collectively the “Republican

Committees”) move to intervene in the above-captioned case pursuant to Rule 24 of the Federal

Rules of Civil Procedure in order to oppose Plaintiffs’ challenges to North Carolina election law.

The Republican Committees respectfully request that the motion be granted for the reasons stated

in the accompanying memorandum in support of this motion and accompanying Declarations from

each of the proposed Intervenors.

        The Republican Committees also request that their motion be granted expedited

consideration to ensure they can participate as parties in the preliminary injunction proceedings.

Plaintiffs filed their preliminary injunction motion on June 5, 2020, and requested expedited

consideration. See Doc. 9 at 7. Today, the Court entered an Order with a briefing schedule, which

requires that briefs in opposition to Plaintiffs’ anticipated amended motion for preliminary

injunction be filed by Friday, June 26 (Dkt. No. 29).             The Republican Committees seek

intervention into the case so that they can be heard as full parties in opposition to Plaintiffs’ motion.

Accordingly, the Proposed Republican Committee Intervenors request that their motion be




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considered on an expedited basis that allows them to participate fully as parties in the preliminary

injunction proceedings.


 Dated: June 18, 2020                              Respectfully submitted,


                                                   _/s/ R. Scott Tobin_____________________
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                                                   Bobby R. Burchfield (pro hac vice pending)
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                                                   Counsel for the Republican Committees




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                                CERTIFICATE OF SERVICE

        I certify that on the 18th day of June, 2020, the foregoing Motion to Intervene,
Memorandum and Declarations in Support of Motion to Intervene, and Answer was
electronically served and filed with the Clerk of the Court using the CM/ECF system.

                                              /s/ R. Scott Tobin
                                              R. Scott Tobin




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